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                                                                                               2024 Sep-03 PM 09:26
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                 EASTERN DIVISION


 DEE FORD'S WEST, LLC and DEWEY                   )
 LANKFORD FORD                                    )
                                                  )
                         Plaintiff,               )   CIVIL ACTION NO.:
                                                  )   1:24-CV-00946-CLM
 v.                                               )
                                                  )
 MESA UNDERWRITERS SPECIALTY                      )
 INSURANCE COMPANY                                )
                                                  )
                         Defendant.               )


             MOTION TO EXTEND DEADLINE TO RESPOND TO COMPLAINT

        Defendant MESA Underwriters Specialty Insurance Company (“MESA”), pursuant to

Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure and without waiving any defenses,

respectfully moves this Court for an additional 45 day extension of time to respond to the

Complaint filed by Plaintiffs Dee Ford’s West, LLC and Dewey Lankford Ford (collectively,

“Plaintiffs”). In support of this Motion, MESA states as follows:

        1.      On August 16, 2024, the Court granted MESA’s first unopposed motion requesting

the deadline to file its response to Plaintiffs’ Complaint be extended to September 3, 2024.

        2.      This initial extension was requested in order to allow the parties time to meet and

confer following the August 20, 2024 mediation of the underlying matter styled Thomas Lavigne

v. Dee Ford’s West, LLC, Case No. CV-2019-900254, Circuit Court of Talladega County,

Alabama, which is presently on appeal to the Alabama Supreme Court and styled as Dee Ford’s

West, LLC v. Thomas Lavigne, Case No. 2024-0120 (“Underlying Action”).




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         3.      The parties participated in the August 20, 2024 mediation, and a global settlement

of the Underlying Action and this matter was reached. Counsel for the parties are presently

working to reach agreement to the written terms of a Settlement Agreement and Release.

         4.      In order to allow the parties time to finalize the terms of the Settlement Agreement

and Release and, to the extent necessary, seek approval from the U.S. Bankruptcy Court for the

Northern District of Alabama, MESA respectfully requests an additional 45-day extension of time

to file its response to the Complaint, up to and including October 18, 2024.1

         5.      This Motion is authorized by Rule 6(b)(1)(A) of the Federal Rules of Civil

Procedure and is made in good faith and not for the purpose of delay. No party will be prejudiced

by the requested extension.

         WHEREFORE, Defendant MESA Underwriters Specialty Insurance Company

respectfully requests that the deadline to file its response to Plaintiffs’ Complaint be extended to

October 18, 2024.

         Dated: September 3, 2024

         Respectfully submitted,

                                               /s/Kenneth W. Boyles, Jr.
                                               Kenneth W. Boyles, Jr. (ASB-6784-M55B)
                                               PHELPS DUNBAR LLP
                                               2025 3rd Avenue North, Suite 1000
                                               Birmingham, AL 35203
                                               Tel: (205) 716-5200
                                               Fax: (205) 716-5389
                                               kenneth.boyles@phelps.com

                                               Attorney for Plaintiff Mesa Underwriters Specialty
                                               Insurance Company




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    In re: Dee Ford’s West, LLC, pending in the United States Bankruptcy Court for the Northern
    District of Alabama, Eastern Division (Chapter 11, Subchapter V - Case No. 24-40320).

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                                 CERTIFICATE OF SERVICE

        I do hereby certify that a true and accurate copy of the foregoing has been served on all

parties of record via the CM/ECF electronic filing system and/or U.S. Mail on this the 3rd day of

September, 2024.

Lloyd W Gathings
GATHINGS LAW
2140 11th Avenue South, Suite 210
Birmingham, AL 35205
Tel: (205) 322-1201
Fax: (205) 322-1202
lgathings@gathingslaw.com




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